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                                                  January 19, 2021


VIA CM-ECF
The Honorable Maryellen Noreika
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801

                       Re:    CFPB v. NCMSLT et al., No. 17 Civ. 1323 (D. Del.)

Dear Judge Noreika:

        We write on behalf of Intervenors Ambac Assurance Corporation, Wilmington Trust Company,
and Pennsylvania Higher Education Assistance Agency (collectively, “Intervenors”) to respectfully re-
quest permission for two attorneys to present argument on Intervenors’ behalf at the telephonic hearing
scheduled for January 26, 2021. The Court granted a similar request made by Plaintiff Consumer Finan-
cial Protection Bureau (“CFPB”) for permission for two attorneys to present argument on the CFPB’s
behalf. (D.I. 338, 339).

        The Intervenors likewise respectfully request permission for two attorneys to present argument on
Intervenors’ Motion to Dismiss (D.I. 300, 301, 325). As the CFPB noted in its request, Intervenors’
Motion to Dismiss contains discrete arguments concerning the implications of the Supreme Court’s deci-
sion in Seila Law v. CFPB, as well as multiple other arguments for dismissal. The Intervenors propose
that George LoBiondo of Patterson Belknap Webb & Tyler LLP (“Patterson Belknap”) address issues
relating to the Seila Law decision and the CFPB’s Notice of Ratification (D.I. 308), and Joshua Kipnees
of Patterson Belknap address all other issues raised in Intervenors’ Motion to Dismiss (D.I. 300, 301, 325).
Dividing argument in this manner would allow the Intervenors, like the CFPB, to ensure that they are
prepared to address the complete range of issues presented by the parties’ briefs and would not unduly
complicate the proceedings.

        We thank the Court for its consideration of this request and are available to answer any questions
that the Court may have.

                                                  Respectfully submitted,

                                                  /s/ Melissa N. Donimirski

                                                  Melissa N. Donimirski (#4701)

MND/ram
cc: All Counsel of Record (via CM-ECF)
